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        United States Court of Appeals                              United States Court of Appeals

             for the Fifth Circuit                                           Fifth Circuit

                                                                           FILED
                              ____________                              April 5, 2024
                                                                      Lyle W. Cayce
                               No. 24-10266
                                                                           Clerk
                              ____________

In re Fort Worth Chamber of Commerce; Longview
Chamber of Commerce; American Bankers Association;
Consumer Bankers Association; Texas Association of
Business; Chamber of Commerce for the United States
of America,

                                                                  Petitioners.
                ______________________________

               Appeal from the United States District Court
                   for the Northern District of Texas
                         USDC No. 4:24-CV-213
               ______________________________

Before Higginson, Willett, and Oldham, Circuit Judges.
Don R. Willett, Circuit Judge:
       A group of plaintiffs consisting of various business associations,
including one located in Fort Worth, filed suit in the Northern District of
Texas, challenging a new Final Rule issued by the Consumer Protection
Financial Bureau (CFPB) regarding credit card late fees. The plaintiffs
collectively sought a preliminary injunction against the Final Rule and
requested expedited briefing and review in light of the Final Rule’s imminent
effect and the substantial compliance it entailed.
       Rather than rule on the motion for preliminary injunction, however,
the district court sua sponte considered whether venue was appropriate in the
Northern District of Texas and invited CFPB to file a motion to transfer.
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CFPB obliged, and the district court granted its motion in short order,
transferring the case to the United States District Court for the District of
Columbia.
       The plaintiffs now petition for a writ of mandamus, arguing that the
district court clearly abused its discretion by transferring the case while the
plaintiffs’ appeal was already pending here and, alternatively, lacked
jurisdiction to transfer the case. Because the plaintiffs appealed the district
court’s effective denial of their preliminary-injunction motion before the
district court granted the motion to transfer the case, we agree that the
district court acted without jurisdiction.
       Forum disputes are nothing new in American litigation. Opposing
parties frequently bicker over where their litigation belongs. And district
judges are right to scrutinize whether legal challenges in their courts actually
belong there. Procedure matters—in big and small cases alike—and venue,
admittedly, can be vexing. But this much is clear: Once a party properly
appeals something a district court has done—here, the effective denial of a
preliminary injunction—the district court has zero jurisdiction to do
anything that alters the case’s status. Importantly, we are not announcing
today a broad rule regarding inter-circuit transfers. Indeed, we do not even
reach the question of where this case rightly belongs. Our decision today is
exceedingly narrow and procedural, focused not on the correctness of the
district court’s transfer order but rather on whether the court had jurisdiction
to enter it. On these facts, it did not.
       Accordingly, we GRANT the petition for mandamus, VACATE the
district court’s transfer order, and ORDER the district court to reopen the
case because its post-appeal transfer order was void for want of jurisdiction
and to give notice to D.D.C. that its transfer was without jurisdiction and
should be disregarded.




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                                               I
        The Credit Card Accountability and Disclosure Act directs CFPB to
“establish standards for assessing whether” credit card late fees are
“reasonable and proportional” to the violation. To that end, it authorizes
CFPB to create a “safe harbor” fee amount presumed to be reasonable and
proportional.1 On March 5, 2024, CFPB enacted a Final Rule that decreases
the previously applicable safe harbor amount for late fees charged by the
nation’s largest credit card issuers. The rule is set to take effect on May 14.
To comply with the Final Rule, the credit card issuers must print and
distribute disclosure materials about the late fees to customers. The current
effective date means that customers must have received notice by March 29.
        On March 7, the Chamber of Commerce2 sued CFPB and moved for
a preliminary injunction in the Northern District of Texas.3 The Chamber
requested a ruling “within 10 days, or as soon as possible thereafter, to
prevent irrecoverable harm.” The motion became ripe on March 14. Despite
previously finding good cause to expedite briefing, however, the district court
did not rule on the motion by within 10 days of its filing. Instead, it sua sponte
requested briefing on venue on March 18 and “welcome[d]” CFPB to file a
motion to transfer venue.
        Having not received a ruling by the requested date, the Chamber
moved for expedited review of its motion for a preliminary injunction on
March 19. The Chamber informed the court that if it did not receive a ruling

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        1
            See 15 U.S.C. § 1665d(a)–(e).
        2
            We refer to the group of plaintiffs as “the Chamber” for simplicity.
        3
         The Chamber argues in its complaint that CFPB violated the Appropriations
Clause, exceeded its statutory authority, offered a deficient analysis and reasoning, and
adopted an effective date that violates another statute.




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by March 22, it would understand its preliminary injunction to be effectively
denied and would accordingly seek appellate review under 28 U.S.C.
§ 1292(a)(1). The district court denied the motion for expedited review on
March 20. It did not rule on the motion for a preliminary injunction by March
22.
       CFPB moved to transfer the case to the United States District Court
for the District of Columbia (D.D.C.) on March 21. The motion became ripe
on March 25. That same day, the Chamber appealed and filed an emergency
motion for an injunction pending appeal and an administrative stay, arguing
that the district court had effectively denied its motion for a preliminary
injunction.4
       On March 28, the district court granted the motion to transfer the case
to D.D.C. The Chamber filed an emergency petition for mandamus and an
administrative stay on March 29, requesting that we order “the district court
to reopen the case because its transfer order was void for lack of jurisdiction
and/or immediately request that the case be transferred back.”
       We administratively stayed the district court’s transfer order pending
our more considered view of the mandamus petition.
                                            II
       As a threshold matter, the Chamber and CFPB disagree about
whether the district court had jurisdiction to transfer the case. Specifically,
CFPB says the district court retained jurisdiction to transfer because the
district court did not effectively deny the preliminary injunction, so there was
no appealable order.


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       4
           That appeal is before our court under case number 24-10248.




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        To determine whether the district court had jurisdiction, we must first
determine whether the district court effectively denied the preliminary
injunction. An effective denial of a preliminary injunction is an appealable
order.5 If there is an appealable order, the appeal divests the district court of
jurisdiction “over those aspects of the case on appeal.”6
        “A district court does not have the power to ‘alter the status of the
case as it rests before the Court of Appeals.’”7 If the district court altered the
status of the case, in frustration of our jurisdiction, when it transferred the
case, then the district court didn’t have jurisdiction to transfer the case. But
if the district court did not alter the status by transferring the case, then it had
jurisdiction, and we must consider whether the district court abused its
discretion in ordering the transfer under 28 U.S.C. § 1404.8

        _____________________
        5
          Clarke v. CFTC, 74 F.4th 627, 635 (5th Cir. 2023) (“[We] may review a district
court’s order that, while not explicitly denying a preliminary injunction, ‘nonetheless ha[s]
the practical effect of doing so’ and might cause irreparable harm absent immediate
appeal.” (second alteration in original) (quoting Carson v. Am. Brands, Inc., 450 U.S. 79, 83
(1981))).
        6
          Alice L. v. Dusek, 492 F.3d 563, 564–65 (5th Cir. 2007) (per curiam) (“A notice
of appeal from an interlocutory order does not produce a complete divestiture of the district
court’s jurisdiction over the case; rather, it only divests the district court of jurisdiction
over those aspects of the case on appeal. . . . How broadly a court defines the aspects of the
case on appeal depends on the nature of the appeal.”).
        7
         Dayton v. Indep. Sch. Dist. v. U.S. Min. Prod. Co., 906 F.2d 1059, 1063 (5th Cir.
1990) (quoting Coastal Corp. Tex. E. Corp., 869 F.2d 817, 820–21 (5th Cir. 1989)).
        8
           This analysis entails applying four private-interest and four public-interest
factors. “The private-interest factors are ‘(1) the relative ease of access to sources of proof;
(2) the availability of compulsory process to secure the attendance of witnesses; (3) the cost
of attendance for willing witnesses; and (4) all other practical problems that make trial of a
case easy, expeditious and inexpensive.’ The public-interest factors are ‘(5) the
administrative difficulties flowing from court congestion; (6) the local interest in having
localized interests decided at home; (7) the familiarity of the forum with the law that will
govern the case; and (8) the avoidance of unnecessary problems of conflict of laws [or in]




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                                                  A
          We begin by asking whether the district court effectively denied the
Chamber’s motion for a preliminary injunction. We conclude that it did.
          When a district court denies a preliminary injunction, the denial is an
appealable interlocutory order.9 “[W]here an order has the ‘practical effect’
of granting or denying an injunction, it should be treated as such for purposes
of appellate jurisdiction.”10 Because the district court did not expressly deny
the motion here, we must determine whether the district court’s inaction, in
light of the unique expedited nature of the case, amounts to an “effective”
denial.
          It’s generally understood that a motion for preliminary injunctive
relief “must be granted promptly to be effective,” so if a district court does
not timely rule on a preliminary-injunction motion, it can effectively deny the
motion.11 We have accordingly recognized that simply sitting on a
preliminary-injunction motion for too long can effectively deny it.12
          CFPB argues that the district court’s delay is too short to constitute
an effective denial because only one month has passed since the motion for a
preliminary injunction was filed. According to CFPB, the timeline of this

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the application of foreign law.’” In re Clarke, 94 F.4th 502, 509 (5th Cir. 2024) (first
quoting In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc); then
quoting In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir. 2023)).
          9
               See 28 U.S.C. § 1292(a)(1).
          10
               Abbott v. Perez, 585 U.S. 579, 594 (2018).
          11
       16 Charles Allen Wright & Arthur Miller, Federal Practice
& Procedure § 3924.1 (3d ed.) (emphasis added).
          12
          See, e.g., Clarke, 74 F.4th at 635 (three months); McCoy v. La. State Bd. of Educ.,
332 F.2d 915, 916–17 (5th Cir. 1964) (four months); United States v. Lynd, 301 F.2d 818,
820 (5th Cir. 1962) (eight months).




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case is far shorter than the other cases in which we recognized an effective
denial.13 Without context, CFPB is right. But its argument fails to account
for the expedited nature of this case. Among the considerations when
determining whether a district court has waited too long to rule on a motion
is “the urgency of preliminary relief as a means of preserving the opportunity
for effective permanent relief.”14 Thus, whether a district court fails to act
promptly depends entirely on context.
       The context of this case reveals that the district court did not act
promptly with regard to the Chamber’s motion for a preliminary injunction.
When CFPB enacted the Final Rule on March 5 and set an effective date of
May 14, it created a short runway for issuers to comply or seek preliminary
injunctive relief. To comply with the Final Rule, credit card issuers needed
to have printed and distributed disclosure materials about the late fees to
customers by March 29. The Chamber attests that providing notice
“typically takes 4 months”—not weeks.
       For its part, the Chamber acted diligently. It filed this action
challenging the Final Rule within two days of CFPB issuing the new rule. It
argues in its complaint that CFPB implemented its new rule in violation of a
statute that requires it to give 6 months for issuers to comply. With its initial
filing, the Chamber specifically requested a ruling on its preliminary
injunction within 10 days so that the credit card issuers could avoid rushing
to comply with a rule that they thought was invalid. It also requested
expedited briefing. The district court found good cause to expedite the
briefing schedule.


       _____________________
       13
            See supra note 12.
       14
            Wright & Miller, supra note 11, § 3924.1 (emphasis added).




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        When the motion for a preliminary injunction became ripe on March
14, the district court did not rule on it but instead sua sponte invited briefing
on venue on March 18. The Chamber responded to not having received a
ruling by its requested date by moving for expedited review of the motion for
a preliminary injunction on March 19—it argued that if it didn’t receive a
ruling by March 22, the preliminary injunction would be effectively denied
because the credit card issuers had to provide notice to customers by March
29. The district court quickly denied the motion for expedited review on
March 20. And, as promised, the Chamber appealed, arguing effective denial.
        CFPB filed a motion to transfer that became ripe on March 25, and
the district court chose to give its attention to that motion, ultimately
granting it three days later on March 28.
        The Chamber made clear from its first filing that the Final Rule was
going into effect on an unusually short timeline, which meant the credit card
issuers had an unusually short window of time to comply. Accordingly, the
Chamber repeatedly requested swift review. Given the Chamber’s diligence
in seeking to expedite briefing and consideration, and its repeated requests
for a ruling by specific dates so as to avoid substantial compliance with the
new rule, the district court effectively denied the motion by failing to rule on
it by those dates and sua sponte inviting briefing on venue/transfer.15
        Of course, we recognize that plaintiffs cannot simply say they need an
expedited ruling and then appeal by claiming effective denial when they don’t
get it on their preferred timeline. “Appeal cannot be achieved simply by
asserting that the trial court has failed to act as promptly as wished by a party

        _____________________
        15
          Cf. Comput. Care v. Serv. Sys. Ent., Inc., 982 F.2d 1063, 1075 (7th Cir. 1992)
(“[F]ailure to grant such relief when it was sought . . . has the substantive effect of a denial.”
(emphasis added)).




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seeking an injunction.”16 There must be a legitimate basis for the urgency.
CFPB does not contradict the Chamber’s summary of the timeline or what
the Final Rule requires credit card issuers to do by the effective date. It only
counters that the issuers’ compliance costs, which the Chamber says are
substantial, are in fact negligible. On this limited record, however, the
Chamber has made the case that its urgency is justified.
       In sum, given the issuers’ unusually short timeline for complying with
the Final Rule or obtaining injunctive relief, the district court effectively
denied the Chamber’s motion for a preliminary injunction by not promptly
ruling on it by and by instead opting to hear an unrelated motion sua sponte.
       We emphasize that what counts as an effective denial is contextual—
different cases require rulings on different timetables. District courts have
wide discretion in managing their docket, and they do not necessarily deny a
motion by failing to rule on a parties’ requested timeline. Even so, in this
case, the Final Rule’s fast-closing window for compliance demanded faster
review of the motion for a preliminary injunction.
       Because the district court effectively denied the preliminary
injunction, there is an appealable order before us. 17
                                            B
       Next, we ask whether the Chamber’s appeal of the district court’s
effective denial divested the district court of jurisdiction to transfer the case.




       _____________________
       16
            Wright & Miller, supra note 11, § 3924.1.
       17
            Clarke, 74 F.4th at 635.




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        A notice of appeal from an appealable order divests the district court
of jurisdiction over aspects of the case on appeal.18 “The filing of a timely and
sufficient notice of appeal transfers jurisdiction over matters involved in the
appeal from the district court to the court of appeals. The district court is
divested of jurisdiction to take any action with regard to the matter except in
aid of the appeal.”19 “How broadly a court defines the aspects of the case on
appeal depends on the nature of the appeal.”20 But it is clear that “[a] district
court does not have the power to alter the status of the case as it rests before
the Court of Appeals.”21 To determine whether the district court had
jurisdiction to transfer the case, we must define the scope of “the aspects of
the case on appeal.”22
        The Chamber argues that jurisdiction to transfer the case implicates
“the aspects of the case involved on appeal” because a transfer would
frustrate our ability to provide meaningful relief because we would have no
case to review. We agree.
        In support of this argument, the Chamber points to two other
contexts—qualified immunity and arbitration. In the qualified-immunity
context, the district court loses authority to order discovery because the point
of appealing a qualified-immunity denial is in part to avoid the burden of
discovery. And in the arbitration context, the district court lacks authority to
proceed because the point of appealing the denial of a motion to compel
        _____________________
        18
           United States v. Hitchmon, 602 F.2d 689, 694 (5th Cir. 1979) (en banc), superseded
by statute on other grounds; see also Rutherford v. Harris County, 197 F.3d 173, 190 n.17 (5th
Cir. 1999).
        19
             Hitchmon, 602 F.2d at 692.
        20
             Dusek., 492 F.3d at 565.
        21
             Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 820–21).
        22
             Dusek, 492 F.3d at 564.




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arbitration is to vindicate a clause that prohibits court proceedings at all. Pet.
at 12–15. Transferring a case to another district while the appeal of an
effective denial is pending would essentially nullify the appeal and render us
unable to grant relief. It would thus “alter the status of the case as it rests
before the Court of Appeals.”23
        CFPB counters that the Chamber’s cited cases support only that
district courts are divested from taking actions that would eliminate all
avenues for relief, and the Chamber can still get relief from the transferee
court. But this doesn’t account for the unusually short timeline in this case.
Once a transfer occurred, the Chamber certainly could not obtain relief by
their requested dates for a ruling and in time to avoid substantial compliance
with the new rule. Delaying review here undercut the Chamber’s chance for
any meaningful review.
        In sum, by transferring the case while an appealable order was pending
before our court, the district court “alter[ed] the status of the case as it rests
before the Court of Appeals.”24 Thus, the district court lacked jurisdiction
to transfer the case.
                                             III
        We’ve so far concluded that the district court (1) effectively denied
the preliminary injunction, and (2) lacked jurisdiction to transfer the case.
We must still ask whether mandamus is appropriate.


        _____________________
        23
           Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 869 F.2d at 820–21); see also
Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (“The filing of a notice of
appeal is an event of jurisdictional significance—it confers jurisdiction on the court of
appeals and divests the district court of its control over those aspects of the case involved
in the appeal.”); Wooten v. Roach, 964 F.3d 395, 403 (5th Cir. 2020).
        24
             Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 869 F.2d at 820–21).




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        A petitioner must satisfy three requirements for a writ of mandamus:
        (1) “the party seeking issuance of the writ [must] have no other
        adequate means to attain the relief he desires—a condition
        designed to ensure that the writ will not be used as a substitute
        for the regular appeals process”; (2) “the petitioner must
        satisfy the burden of showing that [his] right to issuance of the
        writ is clear and indisputable”; and (3) “even if the first two
        prerequisites have been met, the issuing court, in the exercise
        of its discretion, must be satisfied that the writ is appropriate
        under the circumstances.25
“[T]his circuit has established that the first ‘mandamus requirement is
satisfied in the motion-to-transfer context.’”26 Cases with “an out-of-circuit
transfer only strengthens the case for mandamus.”27 Thus, we focus on the
second and third requirements.
        The second requirement is met because the district court lacked
jurisdiction to transfer the case while an appealable order was pending before
our court. This was clear and indisputable error.
        That leaves the third requirement. “[W]rits of mandamus are
supervisory in nature and are particularly appropriate when the issues also
have an importance beyond the immediate case.”28 Facing an uptick in inter-
circuit transfer orders, we take this opportunity to clarify that once an


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        25
          In re Volkswagen of Am., Inc., 545 F.3d at 311 (first alteration in original) (quoting
Cheney v. U.S. Dist. Ct. for D. C., 542 U.S. 367, 380–81 (2004)).
        26
           In re TikTok, 85 F.4th at 358 (quoting In re Radmax, Ltd., 720 F.3d 285, 287 n.2
(5th Cir. 2013) (per curiam)).
        27
          In re Space Expl. Techs., Corp., No. 24-40103, 2024 WL 948321, *2 (5th Cir. Mar.
5, 2024) (Elrod, J., dissenting).
        28
             In re Volkswagen, 545 F.3d at 319.




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appealable order is lodged before our court, district courts lack jurisdiction to
transfer a case because it stymies our ability to review.
       All three requirements for mandamus are met. Accordingly, issuance
of the writ is appropriate.
                                *        *         *
       Because the Chamber had a short window of time to either (1) comply
with the Final Rule, or (2) seek a preliminary injunction, the district court’s
inaction amounted to an effective denial of the Chamber’s motion for a
preliminary injunction. That effective denial is properly before us on appeal.
The district court lacked jurisdiction to transfer the case after this appeal was
docketed because doing so would alter its status.
       IT IS ORDERED that the administrative stay of the transfer order
previously extended by this panel on April 2, 2024, is DISSOLVED.
       The district court’s transfer order is VACATED.
       The petition for a writ of mandamus is GRANTED. The district
court is ORDERED to reopen the case and to give notice to D.D.C. that its
transfer was without jurisdiction and should be disregarded.




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Andrew S. Oldham, Circuit Judge, concurring:
       I join Judge Willett’s opinion in full. Under the “one-court-at-a-time
rule,” a notice of appeal generally transfers the case to us until we send it
back to the district court. See, e.g., United States v. Willis, 76 F.4th 467, 471
(5th Cir. 2023); United States v. Lucero, 755 F. App’x 384, 386 (5th Cir. 2018)
(per curiam). While there are exceptions to that rule, see Willis, 76 F.4th at
471–73, none applies here.
       I write separately to explore additional problems with the district
court’s order to transfer this case under 28 U.S.C. § 1404(a).
                                       I.
       With greatest respect for our district court colleague, the transfer
order erroneously construed (A) the § 1404(a) standard and (B) our
precedent. So even if the one-court-at-a-time rule did not apply, (C) we
would have grounds to grant mandamus.
                                       A.
       Start with § 1404(a). It enables district courts to transfer certain cases
“[f]or the convenience of parties and witnesses” and “in the interest of
justice.” 28 U.S.C. § 1404(a). Importantly, the burden is on the moving party
to “clearly establish good cause” for the transfer. Def. Distributed v. Bruck,
30 F.4th 414, 433 (5th Cir. 2022). It is not enough that the movant’s chosen
alternative venue is “more likely than not to be more convenient.” See ibid.
Rather, the chosen venue needs to be “clearly more convenient.” See In re
Volkswagen of Am., Inc. (“Volkswagen II”), 545 F.3d 304, 315 (5th Cir. 2008)
(en banc); see also In re Clarke, 94 F.4th 502, 508 (5th Cir. 2024) (“[A]
movant must show (1) that the marginal gain in convenience will be
significant, and (2) that its evidence makes it plainly obvious—i.e., clearly
demonstrated—that those marginal gains will actually materialize in the




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transferee venue.”) (emphasis in original). Among other things, this burden
reflects the longstanding deference that courts show towards the plaintiff’s
choice of venue. See, e.g., Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist.
of Tex., 571 U.S. 49, 62 n.6 (2013) (“The Court must…give some weight to
the plaintiffs’ choice of forum.”); Clarke, 94 F.4th at 515–16 (noting that the
plaintiff is “master of the complaint”); see also Def. Distributed, 30 F.4th at
433 (providing that the plaintiff’s choice of venue should be respected);
Volkswagen II, 545 F.3d at 315 (same).
       The district court’s order appeared to recognize these requirements.
But I am concerned that the district court lightened the § 1404(a) burden in
two ways.
       First, the district court held that a plaintiff’s choice of venue is
accorded less respect “where the plaintiff brings suit outside his home
forum.” District Court Op. at 2 (quotation omitted). As only one of the six
plaintiffs was based in the Northern District, this rule statement appears to
have influenced the remainder of the district court’s analysis. See, e.g., id. at
3, 5. But I am unaware of any support in our precedent or the Supreme
Court’s for this less-respect rule. 1 To the contrary, we have never put a
geographic caveat on our repeated statements about the plaintiff’s choice of
venue. See, e.g., Clarke, 94 F.4th at 515–16; Def. Distributed, 30 F.4th at 433;
Volkswagen II, 545 F.3d at 315. Moreover, this assertion conflicts with the
relevant venue statute regarding suits against federal officers. See 28 U.S.C.
§ 1391(e). In that statute, Congress provided three paths to establish venue,
including, but expressly not limited to, the residence of the plaintiff. See 28
U.S.C. § 1391(e)(1)(C); see also id. § 1391(e)(1)(A) (providing venue in any

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       1
         Query whether, where at least one of the plaintiffs did bring suit in its home
forum, the residence of the other five plaintiffs should matter in any event.




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district “in which…a defendant in the action resides”); id. § 1391(e)(1)(B)
(providing venue in any district “in which . . . a substantial part of the events
or omissions giving rise to the claim occurred, or a substantial part of
property that is the subject of the action is situated”). Because Congress gave
no textual priority to one of these three avenues, we cannot give preference
to suits brought in the plaintiff’s home forum.
        Second, the district court appeared to analyze the motion to transfer
with an eye towards discouraging forum and / or judge-shopping. See District
Court Op. at 5–7. However well-intentioned this approach may have been, I
cannot find support for it in Supreme Court or Fifth Circuit precedent. True,
Congress added the qualification “substantial” to § 1391(e)(1)(B). Cf.
District Court Op. at 5; see also id. at 6 (recommending that plaintiffs bring
cases “in jurisdictions where the impact is uniquely and particularly felt,”
notwithstanding the fact that those words do not appear in the relevant
federal venue statute). But that only highlights that Congress did not require
“substantiality” in § 1391(e)(1)(A) and (C). It is not for federal district courts
to add additional qualifications on top of statutory law, especially where the
Supreme Court has previously declined to impose judicial barriers to forum-
shopping. 2 See, e.g., Ferens v. John Deere Co., 494 U.S. 516, 527–29 (1990).
                                            B.
        Next, consider our court’s § 1404(a) precedents. In determining
whether the movant has clearly established good cause for the transfer, see



        _____________________
        2
           The district court noted that “[v]enue is not a continental breakfast; you cannot
pick and choose on a Plaintiffs’ whim where and how a lawsuit is filed.” District Court Op.
at 5. But so long as the plaintiffs complied with federal law, any complaint about the scope
of venue statutes is better addressed to Congress.




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Def. Distributed, 30 F.4th at 433, courts must consider eight factors (four
private-interest and four public-interest):
        The private-interest factors are “(1) the relative ease of access
        to sources of proof; (2) the availability of compulsory process
        to secure the attendance of witnesses; (3) the cost of
        attendance for willing witnesses; and (4) all other practical
        problems that make trial of a case easy, expeditious and
        inexpensive.” The public-interest factors are “(5) the
        administrative difficulties flowing from court congestion; (6)
        the local interest in having localized interests decided at home;
        (7) the familiarity of the forum with the law that will govern the
        case; and (8) the avoidance of unnecessary problems of conflict
        of laws [or in] the application of foreign law.”
Clarke, 94 F.4th at 509 (citations omitted).3 No factor is “dispositive,” and
this court has cautioned against a “raw counting of the factors that weighs
each the same.” In re TikTok, Inc., 85 F.4th 352, 358 (5th Cir. 2023)
(quotation omitted).
        The district court found that factors (4), (5), and (6) weighed in favor
of transfer to the D.D.C. See District Court Op. at 4–6. But there are
significant problems with the district court’s analysis of all three.
        Begin with factor (4): “practical problems that make trial of a case
easy, expeditious and inexpensive.” Clarke, 94 F.4th at 509. The district
court emphasized that most of the attorneys were from D.C. See District
Court Op. at 4. Accordingly, the attorneys’ travel costs would mean “an
expensive bill” charged either to the plaintiffs or the taxpayers. Ibid. Even if
        _____________________
        3
          These factors are drawn in large part from our en banc decision in Volkswagen II.
But that case involved an intra-circuit transfer from one Texas district court to another. See
545 F.3d at 307. Query whether a higher burden should be met in advocating a § 1404(a)
transfer from a district court in one circuit to a district court in another circuit more than
1,000 miles away.




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true, this does not weigh this factor in favor of transfer. As to the plaintiffs’
costs, it bears repeating that the plaintiffs are the “master[s] of the
complaint.” See Clarke, 94 F.4th at 515–16. That characterization would
mean very little if the travel costs of the plaintiffs’ lawyers could be used to
oppose the plaintiffs’ own choice of venue.
        As to the federal government’s lawyers, two points bear emphasis.
First, “[w]hen a defendant is haled into court, some inconvenience is
expected and acceptable.” Def. Distributed, 30 F.4th at 433. Travel costs are
an assumed part of that inconvenience. Cf. In re Horseshoe Entertainment, 337
F.3d 429, 434 (5th Cir. 2003) (per curiam) (rejecting a district court’s
consideration of the location of counsel in the § 1404(a) analysis). Second, it
is no surprise that defendants’ lawyers are from D.C.—defendants are a
federal agency and a federal officer. But if their travel costs are to weigh
against out-of-D.C. venues, federal defendants could always argue that
litigation should be transferred to the D.D.C.4 Such an outcome would
concentrate federal judicial power in D.C. and undermine our federalist
system. Correctly applied, this factor is neutral as to a transfer from the
Northern District of Texas to the District of Columbia.
        Next, consider factor (5): “the administrative difficulties flowing from
court congestion.” Clarke, 94 F.4th at 509. The district court found this
factor weighed “heavily” in favor of transfer. See District Court Op. at 4–5.

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        4
           In their opposition to the petition for writ of mandamus, defendants deny the
consequences of the district court’s rationale. See Opposition at 29 (“Many APA cases are
litigated outside Washington, D.C.—including in this Circuit—and appropriately so.”).
But defendants give no indication how the reasoning in the transfer order could not be used
by federal defendants to always support transfers to the D.D.C. on account of government
counsel’s convenience and expense. Must plaintiffs challenging government action always
use non-D.C. attorneys so as to oppose this argument? Such an anti-plaintiff work-around
cannot possibly be required by § 1404(a)’s text or this court’s precedents.




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In doing so, it relied on evidence suggesting the median time for disposition
of a case in the D.D.C. is 1.4 months quicker than that in the Northern
District of Texas. See ibid. (citation omitted). We certainly defer to the able
district court’s assessment of its own docket, but it’s an altogether different
proposition to defer to a district court’s “guess” about the congested nature
of other district dockets. See Clarke, 94 F.4th at 515. If this factor weighs in
favor of transfer, it does so only slightly.
       Finally, consider factor (6): “the local interest in having localized
interests decided at home.” Id. at 509. The district court concluded that
there was a “strong interest” in having this case decided in D.C. See District
Court Op. at 5. But in doing so, the court emphasized the location of the
parties and their attorneys. See id. at 6 (“The Rule at issue in this case was
promulgated in Washington D.C., by government agencies stationed in
Washington D.C., and by employees who work in Washington D.C. Most of
the Plaintiffs in this case are also based in Washington D.C. and eighty
percent of the attorneys in this matter work in Washington D.C.”). With
deepest respect for our learned colleague, this conflicts with our recent
decision in Clarke, which held that “the local-interest inquiry is concerned
with the interest of non-party citizens in adjudicating the case.” 94 F.4th at
511 (emphasis in original); see also id. (critiquing a district court for only
considering the “relationship between the venue and the party”).
       Properly understood, local interests do not weigh in favor of transfer
and plausibly weigh against transfer. Plaintiffs have alleged that many of the
non-party citizens that will be affected by the challenged CFPB Rule live in
Texas, including in the Northern District. See Plaintiffs’ Supplemental
Motion on Venue and Response to Defendants’ Motion to Transfer Venue
at 13. And as relevant to the “relative” nature of the transfer analysis, cf.
Clarke, 94 F.4th at 512, many more potentially affected non-party citizens are
in Texas than in the District of Columbia. See Plaintiffs’ Supplemental



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Motion on Venue and Response to Defendants’ Motion to Transfer Venue
at 13. A proper focus on non-party citizens instead of parties would place the
local interests factor as weighing against transfer not in favor of it.
                                       C.
       Lastly, the mandamus inquiry. Clarke succinctly laid out the three
requirements for writ of mandamus:
       First, “there must be ‘no other adequate means to attain the
       relief . . . desire[d].’” Second, “the right to issuance of the writ
       must be clear and indisputable.” Third, “the issuing court, in
       the exercise of its discretion, must be satisfied that the writ is
       appropriate under the circumstances.”
94 F.4th at 516 (citations omitted). All three requirements are met here.
       First, mandamus is permitted where plaintiffs have no other means of
achieving redress for the district court’s erroneous transfer order. See ibid.;
see also In re Radmax, Ltd., 720 F.3d 285, 287 n.2 (5th Cir. 2013).
       Second, the right to mandamus is clear and indisputable based on the
district court’s erroneous analysis of the § 1404(a) factors. Clarke is
instructive. In that case, we found a clear abuse of discretion where the only
factor that weighed in favor of transfer, congestion, was opposed by another
factor that weighed against transfer. See id. at 509–16. Here, the only factor
that weighs in favor of transfer, congestion, is opposed by another factor that
plausibly weighs against transfer, local interests. While we do not replace the
district court’s exercise of discretion with our own, see Volkswagen II, 545
F.3d at 312, the parallels between Clarke and this case cannot be ignored. And
we are obviously bound to follow Clarke.
       Third, as we recognized in Clarke and prior cases, mandamus is
“particularly appropriate” for reviewing district court transfer decisions. See
Clarke, 94 F.4th at 516 (quotation omitted); see also TikTok, 85 F.4th at 367




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(holding that mandamus is an appropriate exercise of our supervisory
discretion where transfer decisions are rarely reviewed and district courts
continue to inconsistently administer § 1404(a) transfers). Here, mandamus
would be appropriate for many reasons, not least of which is to clarify to this
district court and others that forum-shopping, whether in or out of one’s
home forum, cannot weigh in favor of § 1404(a) transfer.
                                      II.
       This case again highlights why a district court should stay a transfer
order for a short period so that opposing parties may appeal it. We
commended that procedure in Clarke, 94 F.4th at 507 n.1. And that
procedure would have avoided the very unfortunate circumstance presented
by this motion: we’ve been forced to consider a mandamus application on a
highly truncated timeline and to grant relief that could’ve otherwise been
avoided.
       I have zero doubt about the conscientiousness of the learned district
court judge. The district court’s forum-shopping concerns might be well-
founded. And I certainly don’t think the district court “defied” anyone or
anything. Post, at 3 (Higginson, J., dissenting). But I do think the preexisting
transfer rules precluded sending this case to Washington, D.C. That result is
dictated by Clarke and the ample authorities underlying that decision—not
some “new proposition of law created by [today’s] majority.” Post, at 5
(Higginson, J., dissenting).




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Stephen A. Higginson, Circuit Judge, dissenting:
       I would deny the mandamus petition.
                                       I.
       The district court’s reasoned conclusion that the case “does not
belong in the Northern District of Texas” is fact-based and sound. Chamber
of Com. v. CFPB, No. 4:24-CV-00213-P, 2024 WL 1329959, at *4 (N.D. Tex.
Mar. 28, 2024). As it notes, the CFPB and “[m]ost of the Plaintiffs in this
case are also based in Washington D.C.”—not to mention that all the events
are tied to Washington, D.C.: The CFPB Rule in question “was promulgated
in Washington D.C., by government agencies stationed in Washington D.C.,
and by employees who work in Washington D.C.” Id. at *3. Conversely, the
case has no real, let alone “substantial,” connection to the Northern District
of Texas. 28 U.S.C. § 1391(e)(1). As the district court explained, “[t]he only
apparent connection” is that: (1) “one Plaintiff”—not a card issuer affected
by the Late Fee Final Rule, but the Fort Worth Chamber of Commerce,
asserting associational standing for an out-of-state bank that claims
membership—is headquartered in the Northern District of Texas, and (2)
“the effects of the Rule will be felt generally here.” Chamber of Com., 2024
WL 1329959, at *4.
       All parties agree venue is proper in Washington, D.C., where the case
has already been docketed. See Chamber of Com. v. CFPB, No. 1:24-cv-00915-
ABJ (D.D.C. Mar. 29, 2024), ECF No. 68.
       The district court also correctly emphasized that there is no indication
the matter would not get a full, fair, and expeditious resolution in the District
Court for the District of Columbia. And Petitioners’ assertion, embraced by
the majority, of a March 29 deadline to provide notice to customers ignores
what the challenged Rule actually requires.




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       I would therefore hold that the stark concentration of parties and
events in Washington, D.C. readily supports the district court’s
determination that practical considerations, along with the congestion and
local-interest factors, justify transfer.
                                        II.
       Importantly, I also see no abuse of discretion that would warrant
mandamus. Judge Pittman’s analysis of the Gilbert factors and his fact-
specific determinations, all made in response to Petitioners’ urgent
presentation of this case, make transfer here a determination soundly within
his discretion, In re Volkswagen of Am., Inc., 545 F.3d 304, 311 (5th Cir. 2008)
(en banc) (“There can be no question but that the district courts have ‘broad
discretion in deciding whether to order a transfer.’” (citation omitted)), and
certainly not “patently erroneous,” id. at 312; see id. (“But—and we stress—
in no case will we replace a district court’s exercise of discretion with our
own; we review only for clear abuses of discretion that produce patently
erroneous results.”).
       Notably, this is not a case where the district court “fail[ed] to rule on
the preliminary injunction for three months,” In re Clarke, 94 F.4th 502, 508
(5th Cir. 2024); not a case where the district court made a relative
determination regarding the local-interest factor based “solely” on the
parties’ “connection[s] to the venue” rather than the “events that gave rise
to the suit,” id. at 511 & n.12 (citation omitted); and not one where it provided
“all of two sentences” to discuss all four private-interest factors, id. at 513.
       Indeed, the district court’s prompt transfer of the case, after
explaining in detail why the case was improperly before it, dutifully heeds our
admonishments to district courts to prioritize ruling on motions to transfer.
See, e.g., In re TikTok, Inc., 85 F.4th 352, 362 (5th Cir. 2023); In re Horseshoe
Ent., 337 F.3d 429, 433 (5th Cir. 2003). By granting mandamus, the majority




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reverses course today.1 Contra State ex rel. Nixon v. Coeur D’Alene Tribe, 164
F.3d 1102, 1107 (8th Cir. 1999) (finding that an order granting a motion to
transfer a case did not constitute an effective denial of a pending motion for a
preliminary injunction).
        Worse still, the majority’s grant of mandamus also threatens to
impossibly hamstring district courts by effectively declaring that our district
judges cannot manage their dockets to sequence threshold questions before
difficult merits questions and cannot transfer cases if there are motions
pending. Instead, district courts will be deemed to have “decided” merits
questions—and will be subject to appellate review—when they simply do not
accede to a plaintiff’s insistence for a ruling in less than two weeks from
assignment of the case. I have never been a trial judge, but this strikes me as
impossible law for us to impose, much less declare as clear and obvious
existing law defied by Judge Pittman.
        The majority concludes there was an effective denial of the
preliminary injunction because of the “unusually short timeline for
complying.” Maj. at 9; see id. (“There must be a legitimate basis for the
urgency. CFPB does not contradict the Chamber’s summary of the timeline
or what the Final Rule requires credit card issuers to do by the effective
date.”). This conclusion, however, rests on a factually flawed premise. As
the CFPB has explained, issuers are not required to give advance notice if
they reduce a late fee—which is the only change that the Late Fee Rule
requires. See 12 C.F.R.§ 1026.9(c)(2)(v)(A); see also id. § 1026.6(b)(3). Any
specter of a March deadline for compliance with the Rule—the alleged

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             The absence of any authority establishing requirements for threshold
determinations a district court must make prior to effectuating what it in good faith believes
is a valid transfer—including ruling on pending motions—underscores the impropriety of
mandamus in this case.




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“legitimate basis for the urgency”—was, therefore, a fiction.2 And in the
absence of an actual deadline, the mere two weeks the district court had with
this complex preliminary injunction request3—indeed, premised heavily on a
case pending before the Supreme Court—cannot have constituted an
effective denial. Nothing in our case law comes remotely close to establishing
that proposition. Indeed, even this petition for mandamus has been pending
before us for a week. See Petition, In re Chamber of Com., No. 24-10266
(March 29, 2024), ECF No. 5.
        Gutting in this manner a district judge’s discretion to expeditiously
transfer a case it has good reason to believe is improperly before it—
especially when Petitioners have insisted that time is of the essence—is
particularly worrisome not just as our usurpation of district courts’ docket
control, but also in its implications for the judiciary’s ability to prevent forum
shopping. Cf. Judicial Conference Committee on Court Administration and
Case Management, Guidance for Civil Case Assignment in District Courts
(Mar. 2024). It was apparent to Judge Pittman that under Petitioners’
“theory, there isn’t a city in the country where venue would not lie, as every
city has customers who may potentially be impacted by the Rule.” Chamber
of Com., 2024 WL 1329959, at *3. In full view of Petitioners’ actions, the
district court then saw fit to include the following admonition which our
decision today repudiates: “Venue is not a continental breakfast; you cannot
pick and choose on a Plaintiff’s whim where and how a lawsuit is filed.

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        2
           To the extent that Petitioners argue issuers need to make other changes to
counteract the effects of the Rule, the timing of those changes is entirely elective, and
entirely untethered to the Rule’s effective date. Any urgency stemming from issuers’ desire
to effect other changes not required under the CFPB’s rule would, therefore, be merely an
urgency of their own design.
        3
         Petitioners themselves chose to move for a preliminary injunction, not a
temporary restraining order.




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Indeed, this is why § 1391(e)(1)(B) has the ‘substantial’ qualification as one
of the factors in deciding venue.” Id. I fear that in granting mandamus to
vacate a well-reasoned and fact-based transfer order, so too is vacated any
intelligible limiting principle constraining “[p]laintiffs’ whim[s].”
                                             III.
        For the foregoing reasons, I believe that the new proposition of law
created by the majority is incompatible with district court discretion over
docket management and prudent policing of forum shopping.4
        Finally, I am confident the District Court for the District of Columbia
will give the suggestion that it should disregard a case docketed by it its
closest attention.




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          See Order at 2, Chamber of Com. v. CFPB, No. 4:24-CV-00213-P (N.D. Tex.
March 20, 2024), ECF No. 51 (“[T]he Court does not have the luxury to give increased
attention to certain cases just because a party to the case thinks their case is more important
than the rest. There are simply too many cases that demand the Court’s full attention.”);
cf. June Med. Servs., L.L.C. v. Phillips, No. 22-30425, 2022 WL 4360593, at *1 (5th Cir.
Sept. 28, 2022) (construing district court’s denial of expedited relief but explicit deferral
of merits determination as “an administrative decision by the district court to manage its
docket” (citation omitted)).




                                              26
